         Case 2:21-cv-00829-GJP        Document 22        Filed 10/19/21     Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT FOR
                     THE EASTERN DISTRICT OF PENNSYLVANIA


                                                   ::
SALLY SLOCUM,                                       :
                                                    :
                                Plaintiff,          :   Civil Action No.: 2:21-cv-00829-GJP
v.                                                  :
                                                    :
THE HOME DEPOT U.S.A. INC. d/b/a THE                :
HOME DEPOT,                                         :
                                                    :
                                Defendant.          :
                                                   :

                       STIPULATION AND ORDER OF DISMISSAL
                    WITH PREJUDICE AND WITHOUT COSTS AND/OR
                          ATTORNEY’S FEES TO ANY PARTY

         IT IS AND AGREED, by and between Plaintiff Sally Slocum and Defendant Home Depot

U.S.A., Inc., through their undersigned counsel, that all claims which were or could have been

asserted by Plaintiff Sally Slocum in the above-captioned matter against Defendant are hereby

dismissed in its entirety, with prejudice and without costs and/or attorneys’ fees to any party as

against any other party.


 Karpf, Karpf & Cerutti, P.C.                     Epstein Becker & Green, P.C.
 3331 Street Road                                 One Gateway Center
 Two Greenwood, Suite 128                         Newark, New Jersey 07102
 Bensalem, PA 19020                               Attorneys for Defendant
 Attorneys for Plaintiff                          Home Depot U.S.A., Inc.


 BY: s/W. Charles Sipio                           BY: s/Patrick G. Brady
       W. Charles Sipio, Esq.                           Patrick G. Brady

 Date: October 19, 2021                           Date: October 19, 2021




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         Case 2:21-cv-00829-GJP       Document 22      Filed 10/19/21    Page 2 of 2




                                           ORDER

         The foregoing Stipulation is approved, and IT IS SO ORDERED this ___ day of October,

2021.


                                            BY THE COURT:



                                            _______________________________
                                            Hon. Gerald J. Pappert, U.S.D.J.




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